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                               UNITED STATES DISTRICT COURT
                           FOR THE SOUTHERN DISTRICT OF ILLINOIS

    UNITED STATES OF AMERICA,

                   Plaintiff,

            v.                                               Case No. 08-cr-30254-JPG

    ARTHUR DARNELL,

                   Defendants.

                                    MEMORANDUM AND ORDER

       This matter comes before the Court on defendant Arthur Darnell’s pro se motion to amend his

judgment and commitment (Doc. 161). The government has responded to the motion (Doc. 163). On

November 20, 2009, the Court sentenced Darnell to serve 125 months in prison. Darnell now asks the

Court to clarify its judgment to provide that he should get credit against his sentence for the roughly

ten months he spent in the custody of the U.S. Marshal Service his sentencing. Darnell was in federal

custody on a writ from a state sentence on an unrelated charge. Darnell’s judgment is silent on the

matter of credit for time served.

       The Court does not have jurisdiction in this criminal case to amend Darnell’s sentence after

entry of judgment. The relief Darnell seeks – recalculation of his sentence – is only available through

a proceeding under 28 U.S.C. § 2241, which requires exhaustion of administrative remedies, see

Richmond v. Scibana, 387 F.3d 602, 604 (7th Cir. 2004), and a suit against Darnell’s custodian in the

jurisdiction of his incarceration, see Samirah v. O'Connell, 335 F.3d 545, 551 (7th Cir. 2003).

Darnell’s current motion does not satisfy those requirements. For these reasons, the Court

DISMISSES Darnell’s motion (Doc. 161).

IT IS SO ORDERED.
DATED: September 30, 2010
                                              s/ J. Phil Gilbert
                                              J. PHIL GILBERT
                                              DISTRICT JUDGE
